Case 23-12825-MBK                 Doc 614-1 Filed 05/26/23 Entered 05/26/23 23:11:45                             Desc
                                Declaration of Daniel J. Merrett Page 1 of 5



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    (Admitted pro hac vice)

    PROPOSED ATTORNEYS FOR DEBTOR
    In re:
                                                                    Chapter 11
    LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)
                                                                    Judge: Michael B. Kaplan
                                Debtor.
                                                                    Hearing Date and Time:
                                                                    June 27, 2023 at 10:00 a.m.


             DECLARATION OF DANIEL J. MERRETT IN SUPPORT OF
    DEBTOR’S OMNIBUS OBJECTION TO MOTIONS TO DISMISS CHAPTER 11 CASE

                     I, Daniel J. Merrett, hereby declare under penalty of perjury:

                     1.       I am a partner of the law firm of Jones Day, and my office is located at

1221 Peachtree Street, N.E., Suite 400, Atlanta, Georgia 30361. I am a member in good standing



1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
Case 23-12825-MBK        Doc 614-1 Filed 05/26/23 Entered 05/26/23 23:11:45                  Desc
                       Declaration of Daniel J. Merrett Page 2 of 5



of the Bar of the State of Georgia. My application to appear pro hac vice was approved by this

Court [Dkt. 144]. There are no disciplinary proceedings pending against me.

               2.     I submit this declaration (the “Declaration”) in connection with the

Debtor’s Omnibus Objection to Motions to Dismiss Chapter 11 Case, filed contemporaneously

herewith. I have personal knowledge of the matters set forth herein.

               3.     Attached hereto as Exhibit 1 is a true and correct copy of excerpts from

the transcript of the hearing held on April 18, 2023, before the United States Bankruptcy Court

for the District of New Jersey in In re LTL Management LLC, No. 23-12825 (Bankr. D.N.J.

Apr. 18, 2023).

               4.     Attached hereto as Exhibit 2 is a true and correct copy of Johnson &

Johnson’s press release entitled “Johnson & Johnson Consumer Health Announces

Discontinuation of Talc-based Johnson’s Baby Powder in U.S. and Canada” published on

May 19, 2020, at https://www.jnj.com/our-company/johnson-johnson-consumer-health-

announces-discontinuation-of-talc-based-johnsons-baby-powder-in-u-s-and-canada.

               5.     Attached hereto as Exhibit 3 is a true and correct copy of Johnson &

Johnson’s press release entitled “Johnson & Johnson Announces Plans to Accelerate Innovation,

Serve Patients and Consumers, and Unlock Value through Intent to Separate Consumer Health

Business” published on November 12, 2021, at https://www.jnj.com/johnson-johnson-

announces-plans-to-accelerate-innovation-serve-patients-and-consumers-and-unlock-value-

through-intent-to-separate-consumer-health-business.

               6.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts from

the transcript of the hearing held on February 16, 2022, before the United States Bankruptcy




                                                2
Case 23-12825-MBK           Doc 614-1 Filed 05/26/23 Entered 05/26/23 23:11:45                Desc
                          Declaration of Daniel J. Merrett Page 3 of 5



Court for the District of New Jersey in In re LTL Management LLC, No. 21-30589 (Bankr.

D.N.J. Feb. 16, 2022).

               7.        Attached hereto as Exhibit 5 is a true and correct copy of excerpts from

the transcript of the hearing held on November 5, 2021, before the United States Bankruptcy

Court for the Western District of North Carolina in LTL Mgmt. LLC v. Those Parties Listed on

Appendix A to Complaint (In re LTL Mgmt. LLC), Adv. Pro. No. 21-03032 (JCW) (Bankr.

W.D.N.C. Nov. 5, 2021).

               8.        Attached hereto as Exhibit 6 is a true and correct copy of excerpts from

the Responses and Objections to the Debtor’s First Set of Interrogatories to the Official

Committee of Talc Claimants, dated May 6, 2023, in In re LTL Management LLC, No. 23-12825

(Bankr. D.N.J.).

               9.        Attached hereto as Exhibit 7 is a true and correct copy of excerpts from

the transcript of the hearing held on April 11, 2023, before the United States Bankruptcy Court

for the District of New Jersey in In re LTL Management LLC, No. 23-12825 (Bankr. D.N.J.

Apr. 11, 2023).

               10.       Attached hereto as Exhibit 8 is a true and correct copy of an email with

the subject line “Johnson & Johnson Second Talc Bankruptcy is Another Sham” sent from Andy

Birchfield of plaintiff firm Beasley Allen to clients on April 5, 2023.

               11.       Attached hereto as Exhibit 9 is a true and correct copy of excerpts from

the Expert Report of Gregory K. Bell Ph.D., dated January 28, 2022.

               12.       Attached hereto as Exhibit 10 is a true and correct copy of excerpts from

Response of Tort Victims Represented by Baron & Budd and Silber Pearlman to the Motions to




                                                  3
Case 23-12825-MBK           Doc 614-1 Filed 05/26/23 Entered 05/26/23 23:11:45                 Desc
                          Declaration of Daniel J. Merrett Page 4 of 5



Dismiss Filed By Various Insurers filed in In re Mid-Valley, Inc., No. 03-35592-JKF [Dkt. 482]

(Bankr. W.D. Pa. Jan. 29, 2004).

               13.       Attached hereto as Exhibit 11 is a true and correct copy of The

Consolidation Effect: New York City Asbestos Verdicts, Due Process and Judicial Efficiency

written by Peggy L. Ableman and published in 14 Mealy’s Asbestos Bankr. Rep. 9 (2015).

               14.       Attached hereto as Exhibit 12 is a true and correct copy of a letter from

the Honorable Ana C. Viscomi to “All plaintiffs’ counsel who have J&J Talc matter venued in

Middlesex County” dated April 26, 2023.

               15.       Attached hereto as Exhibit 13 is a true and correct copy of excerpts from

the transcript of the hearing held on May 19, 2023, before the Superior Court of the State of

California, County of Alameda in Daugherty v. Johnson & Johnson, No. RG19013937 (May 19,

2023).

               16.       Attached hereto as Exhibit 14 is a true and correct copy of excerpts from

the transcript of the hearing held on April 20, 2023, before the United States Bankruptcy Court

for the District of New Jersey in In re LTL Management LLC, No. 23-12825 (Bankr. D.N.J.).

               17.       Attached hereto as Exhibit 15 is a true and correct copy of excerpts from

the transcript of the hearing held on May 16, 2023, before the United States Bankruptcy Court

for the District of New Jersey in In re LTL Management LLC, No. 23-12825 (Bankr. D.N.J.

May 16, 2023).

               18.       Attached hereto as Exhibit 16 is a true and correct copy of excerpts from

the transcript of the hearing held on February 18, 2022, before the United States Bankruptcy

Court for the District of New Jersey in In re LTL Management LLC, No. 21-30589 (Bankr.

D.N.J. Feb. 18, 2022).



                                                   4
Case 23-12825-MBK          Doc 614-1 Filed 05/26/23 Entered 05/26/23 23:11:45                 Desc
                         Declaration of Daniel J. Merrett Page 5 of 5



                 19.    Attached hereto as Exhibit 17 is a true and correct copy of Johnson &

Johnson’s press release entitled “Johnson & Johnson Takes Steps to Equitably Resolve All

Current and Future Talc Claims” published on October 14, 2021, at https://www.jnj.com/johnson

-johnson -takes-steps- to-equitably-resolve-all-current-and-future-talc-claims.

                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.



Dated: May 26, 2023                            Respectfully submitted,
       Atlanta, Georgia
                                               /s/ Daniel J. Merrett
                                               Daniel J. Merrett




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